85 F.3d 638
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Venustiano JIMENEZ, Defendant-Appellant.
    No. 95-30311.
    United States Court of Appeals, Ninth Circuit.
    Submitted April 30, 1996.*Decided May 6, 1996.
    
      Before:  BROWNING, REINHARDT and FERNANDEZ, Circuit Judges.
      MEMORANDUM**
      Venustiano Jimenez contends that his conviction for using a firearm during and in relation to a drug trafficking crime in violation of 18 U.S.C. § 924(c)(1) must be reversed in light of the Supreme Court's decision in Bailey v. United States, 116 S.Ct. 501 (1995).   The government concedes that the evidence was insufficient to sustain his conviction.   Accordingly, we reverse Jimenez's conviction under 18 U.S.C. § 924(c)(1) and remand for resentencing.
      REVERSED AND REMANDED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    